Case 1:17-cv-00571-HG-WRP Document 561 Filed 05/31/22 Page 1 of 1        PageID #:
                                 32242



                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ELIZABETH A. MUELLER,         )              CV 17-00571 HG-WRP
                              )
          Plaintiff(s),       )
                              )
     vs.                      )
                              )
STATE OF HAWAII               )
DEPARTMENT OF PUBLIC          )
SAFETY; NOLAN ESPINDA;        )
FREDDIE CARABBACAN,           )
                              )
          Defendant(s).       )
_____________________________ )

       ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS AND
      RECOMMENDATION TO GRANT IN PART AND DENY IN PART
             PLAINTIFF’S BILL OF COSTS (ECF No. 551)

      Findings and Recommendation having been filed and served on all parties

on April 29, 2022, and no objections having been filed by any party,

      IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the “Findings and

Recommendation to Grant in Part and Deny in Part Plaintiff’s Bill of Costs” are

adopted as the opinion and order of this Court.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawaii, May 31, 2022.
